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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

RACHEL HOFMEISTER,                                                                        Plaintiff,

v.                                                         Civil Action No. 3:16-cv-475-DJH-DW

EQUIFAX INFORMATION SERVICES,
LLC,                                                                                  Defendant.

                                               * * * * *

                                               ORDER

         Plaintiff Rachel Hofmeister filed a stipulation of dismissal with prejudice. (Docket No.

5) But not all the parties who have appeared have signed the stipulation so Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) is unavailing. Because Equifax has not served either an answer or a

motion for summary judgment, the Court will construe the stipulation as a notice of voluntary

dismissal with prejudice. See Fed. R. Civ. P. 41(a)(1)(A)(i). Accordingly, and the Court being

otherwise sufficiently advised, it is hereby

         ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(i) and is STRICKEN from the Court’s active docket.


     November 22, 2016




                                                              David J. Hale, Judge
                                                           United States District Court
